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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                               :
DONNA CURLING, et al.,         :
                               :
    Plaintiffs,                :
                               :
                                                  CIVIL ACTION NO.
v.                             :
                                                  1:17-cv-2989-AT
                               :
BRAD RAFFENSPERGER, et al.,    :
                               :
                               :
    Defendants.                :
                            ORDER

      Before the Court are Plaintiffs’ Motions for Interim Attorney’s Fees. [Docs.

595, 596, as amended by Docs. 1686, 1687, 1688]. As explained below, under the

Supreme Court’s recent decision in Lackey v. Stinnie, 145 S. Ct. 659 (2025),

Plaintiffs’ motions must be DENIED.

      Background

            Procedural Timeline

      When this lawsuit was first filed in 2017, Plaintiffs challenged the

constitutionality of Georgia’s Direct Recording Electronic (“DRE”) system, the

electronic voting system then used for in-person voting in Georgia. See (Compl.,

Doc. 1-2). In April 2019, Georgia began replacing the DRE system by enacting

House Bill 316 (“HB 316”), which, among other things, called for the state to

implement a new ballot marking device system “[a]s soon as possible, once such
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equipment is certified by the Secretary of State as safe and practicable for use.”

O.C.G.A. § 21-2-300(a).

      In May and June 2019, Plaintiffs moved for preliminary injunctions barring

Georgia’s use of the DRE system. See (Curling May 2019 PI Mtn., Doc. 387 at 22–

24); (CGG June 2019 PI Motion, Doc. 419 at 2).

      In July 2019, the Secretary of State awarded Dominion Voting Systems the

contract for the new voting system under HB 316. See (Dominion Contract, Curling

Pls. Ex. 47); (Trial Tr. Vol. 5A, Doc. 1836 at 235:16–21 (Sterling)). The Dominion

ballot marking device voting system (the “BMD system”) was selected to replace

the DRE system for in-person voting in all Georgia elections.

      One month later, on August 15, 2019, the Court granted in part and denied

in part Plaintiffs’ preliminary injunction motions. Curling v. Raffensperger, 397

F. Supp. 3d 1334, 1412 (N.D. Ga. 2019). The August 2019 Preliminary Injunction

barred the use of the DRE system “after 2019,” and imposed other remedial

measures. See id. Georgia has accordingly used the BMD system for in-person

voting in all elections since the 2020 election cycle.

      Several years later, at summary judgment, Defendants argued that Plaintiffs’

DRE claims had been mooted by Georgia’s complete transition from the DRE

system to the new BMD system under HB 316. See Curling v. Raffensperger, 702

F. Supp. 3d 1303, 1369 (N.D. Ga. 2023). Plaintiffs did not meaningfully dispute the

mootness of their DRE claims. See id. Upon review, the Court determined that

Georgia had fully transitioned to the new BMD system, and that this

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“comprehensive electoral reform[]” prevented Georgia from reverting to the old

DRE system. See id. (citation omitted). Accordingly, the Court dismissed Plaintiffs’

DRE claims as moot. 1 Id.

               Plaintiffs’ Motions for Interim Attorney’s Fees

       On August 29, 2019, Plaintiffs moved to recover attorney’s fees under 42

U.S.C. § 1988(b). (Docs. 595, 596). The statue “provides that, in actions brought

under certain civil rights statutes—including 42 U.S.C. § 1983—‘the court, in its

discretion, may allow the prevailing party . . . a reasonable attorney’s fee as part of

the costs.’” Lackey v. Stinnie, 145 S. Ct. 659, 666 (2025) (quoting 42 U.S.C.

§ 1988(b)).

       Plaintiffs argue that they are “prevailing part[ies]” entitled to recover

interim attorney’s fees under § 1988(b) because the Court’s entry of the 2019

Preliminary Injunction “constitutes success on the merits” of their DRE claims. See

(Doc. 595 at 2–3, 7). Defendants disagree and have raised various arguments why

the 2019 Preliminary Injunction cannot confer to Plaintiffs “prevailing party”

status.




1 The Court acknowledges that some of the broader election administration and security issues

raised by Plaintiffs in connection with their initial claims persisted after the State’s shift to the
BMD system. Some of those election administration issues remained relevant to Plaintiffs’ later
claims. However, when evaluating the question of Plaintiffs’ entitlement to attorney’s fees for their
2019 Preliminary Injunction victory, what matters is whether the claims were conclusively
adjudicated on the merits in Plaintiffs’ favor. But the DRE claims were not, as they were dismissed
as moot.

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              Lackey v. Stinnie

       On February 25, 2025, the United States Supreme Court announced its

decision in Lackey v. Stinnie, which profoundly changed the circumstances under

which civil rights plaintiffs may receive attorney’s fees under § 1988(b).

       In Stinnie, drivers whose licenses were suspended due to their failure to pay

court fines or costs sued the Commissioner of the Virginia Department of Motor

Vehicles, arguing that the Virginia statue requiring the suspension of their licenses

was unconstitutional. 145 S. Ct. at 664. The district court entered a preliminary

injunction barring the Commissioner from enforcing the statute, but while the case

was still pending, the Virginia General Assembly repealed the challenged statute,

mooting Plaintiffs’ claims. See id.

       After the district court denied the drivers’ request for interim attorney’s fees,

the drivers appealed, and the Supreme Court ultimately granted certiorari to

determine “whether the drivers [were] ‘prevailing part[ies]’ who qualify for an

award of attorney’s fees under § 1988(b).” Id. The Supreme Court ruled against

the drivers, holding:

       A preliminary injunction, which temporarily preserves the parties’
       litigating positions based in part on a prediction of the likelihood of
       success on the merits, does not render a plaintiff a “prevailing party.”
       Nor do external events that moot the action and prevent the court
       from conclusively adjudicating the claim. Because the drivers in the
       present case gained only preliminary injunctive relief before this
       action became moot, they do not qualify as “prevailing part[ies]”
       eligible for attorney’s fees under § 1988(b).

Id. at 671.


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      Discussion

      After reviewing the parties’ supplemental briefing, the Court concludes that,

under Stinnie, Plaintiffs do not qualify as “prevailing part[ies]” that may recover

attorney’s fees under § 1988(b).

      As in Stinnie, Plaintiffs argue that they are entitled to attorney’s fees under

§ 1988(b) because the Court’s 2019 Preliminary Injunction makes each of them a

“prevailing party.” Yet like the plaintiffs in Stinnie, Plaintiffs did not obtain

“enduring relief on the merits” of their claims from a final judgment. See Stinnie,

145 S. Ct. at 671. Instead, Plaintiffs “gained only preliminary injunctive relief” on

their DRE claims before external events—Georgia’s complete transition to the

BMD system—mooted those claims before the merits could be fully adjudicated.

See id. And since “external events that render a dispute moot” cannot convert a

preliminary injunction into a “conclusive adjudication of [the parties’] rights,”

Plaintiffs do not qualify as “prevailing part[ies]” eligible for attorney’s fees under

§ 1988(b). See id. at 667–68, 672.

      Conclusion

      Accordingly, Plaintiffs’ Motions for Interim Attorney’s Fees, [Docs. 595, 596,

as amended by Docs. 1686, 1687, 1688], are DENIED.

      Even so, the Court acknowledges that not allowing Plaintiffs to recover fees

under these circumstances appears “manifestly inequitable, because it leaves

[them] ‘holding the bag’ for considerable litigation fees” despite achieving relief

sought by their lawsuit. See Stinnie, 145 S. Ct. at 680 (Jackson, J., dissenting).


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Although Plaintiffs’ DRE claims were not fully adjudicated, Plaintiffs secured an

injunction barring further use of the DRE system, which ensured Georgia’s full,

timely, and permanent transition to the BMD system. And in fact, it was

Defendants’ compliance with the Court’s injunction that mooted Plaintiffs’ DRE

claims.

      This unfairness is exacerbated by the reality that, before Stinnie, the 11

Courts of Appeals to have considered the issue agreed that preliminary injunctions

can sometimes trigger fee eligibility under § 1988(b). Id. at 671. Plaintiffs’ counsel

undoubtedly relied on that consensus when expending significant hours litigating

this case.

      In sum, the 2019 Preliminary Injunction—despite its “preliminary” label—

will never be revisited, reversed, or disturbed. It was therefore more than a

“transient” or “temporary success” for Plaintiffs—it was of lasting, material value.

See id. at 667. But under Stinnie’s “categorical preclusion of fee awards for any

plaintiff who successfully obtains preliminary injunctive relief,” the Court’s hands

are tied. Id. at 671–72 (Jackson, J., dissenting). Binding precedent requires the

denial of Plaintiff’s Motions, even if the 2019 Preliminary Injunction “effectively

resolve[d]” Plaintiffs’ DRE claims in their favor. See id.

      IT IS SO ORDERED this 31st day of March, 2025.


                                       ____________________________
                                       Honorable Amy Totenberg
                                       United States District Judge


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